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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
   PRODUCTS LIABILITY                                                                   20-MD-2924
   LITIGATION
                                                            JUDGE ROBIN L ROSENBERG
                                                    MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO:                                JURY TRIAL DEMANDED
    Kristina Peterson
   individually and on
   behalf of Richard                 SECOND AMENDED
   Krajeski (Plaintiff           SHORT-FORM COMPLAINT
   Name(s))
           The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

   Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

   Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

   Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

   by Pretrial Order No. 31.

           Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

   of Actions specific to this case. Where certain claims require additional pleading or case specific

   facts and individual information, Plaintiff(s) shall add and include them herein.

          Plaintiff(s), by counsel, allege as follows:

                         I.      PARTIES, JURISDICTION, AND VENUE

      A. PLAINTIFF(S)

          1.      Plaintiff(s) Kristina Peterson (“Plaintiff(s)”) brings this action (check the
                  applicable designation):

                                 On behalf of [himself/herself];

                          X                                         Surviving Spouse
                                 In representative capacity as the __________________,   on behalf
                                 of     the     injured    party,    (Injured    Party’s   Name)
                                  Richard L. Krajeski



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          2.      Injured Party is currently a resident and citizen of (City,                                              State)
                  _________________________ and claims damages as set forth below.

                                                                   —OR—

                  Decedent died on (Month, Day, Year) November 11, 2019. At the time
                  of Decedent’s death, Decedent was a resident and citizen of (City,
                  State) Houma, Louisiana.

   If any party claims loss of consortium,

          3.      Kristina Peterson (“Consortium Plaintiff”) alleges damages for loss of
                  consortium.

          4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                  citizen and resident of (City, State) Gray, Louisiana.

          5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                  Houma, Louisiana.


      B. DEFENDANT(S)


          6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                  Complaint in this action:

                     a. Brand Manufacturers:
                          Boehringer Ingelheim, GlaxoSmithKline, Pfizer, and Sanofi.


                     b. Generic Manufacturers:
                          Ajanta, AmerisourceBergen, Amneal, ANDA Repository, Ani Pharmaceuticals, Apotex, Appco, Aurobindo, Contract
                          Pharmacal, Dr. Reddy's, Geri-Care, Glenmark, Granules, Heritage, Hikma, Hi-Tech, JB Chemincals, Lannett, Mylan, Nostrum,
                          Novitium, PAI, Par Pharmaceutical, Perrigo, Sandoz, Strides, Taro, Teva, Torrent, VKT, Wockhardt and Zydus-Cadila.
                     c. Distributors:
                          Amerisource Bergen, Cardinal Health, Chattem and McKesson.


                     d. Retailers:
                          Albertson's, Amazon, BJ's, Costco, CVS, Dollar General, Dollar Tree, Express Scripts, Giant Eagle, HEB, Humana, Hy-Vee,
                          Kaiser Permanente, KMart, Kroger, Medicine Shoppe, Price Chopper, Publix, Rite Aid, Shop-Rite, UnitedHealth (Optum
                          Rx),Vitamin Shoppe, Walgreens, Walmart and Winn Dixie.
                     e. Repackagers:
                         GSMS and Precision Dose.


                     f. Others Not Named in the MPIC:




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      C. JURISDICTION AND VENUE


         7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
               in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
               Court to which their original action was removed]:

               United States District Court of the Eastern District of Louisiana.


         8.    Jurisdiction is proper upon diversity of citizenship.

                                     II.     PRODUCT USE


         9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                       X      By prescription

                       X      Over the counter

         10.   The Injured Party used Zantac and/or generic ranitidine from approximately
                             Early 1990's
               (month, year) _______________     November, 2019
                                             to _______________.


                                  III.     PHYSICAL INJURY


         11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
               was diagnosed with the following specific type of cancer (check all that apply):

    Check all Cancer Type                                              Approximate       Date      of
    that                                                               Diagnosis
    apply
              BLADDER CANCER
              BRAIN CANCER
              BREAST CANCER
              COLORECTAL CANCER
              ESOPHAGEAL/THROAT/NASAL CANCER
              INTESTINAL CANCER
              KIDNEY CANCER
     X        LIVER CANCER                                             November 11, 2019
              LUNG CANCER
              OVARIAN CANCER
              PANCREATIC CANCER
              PROSTATE CANCER
              STOMACH CANCER




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               TESTICULAR CANCER
               THYROID CANCER
               UTERINE CANCER
               OTHER CANCER:

    X          DEATH (CAUSED BY CANCER)                              December 9, 2019


         12.    Defendants, by their actions or inactions, proximately caused the injuries to
                Plaintiff(s).


                           IV.    CAUSES OF ACTION ASSERTED

         13.    The following Causes of Action asserted in the Master Personal Injury Complaint
                are asserted against the specified defendants in each class of Defendants
                enumerated therein, and the allegations with regard thereto are adopted in this Short
                Form Complaint by reference.

      Check if   COUNT Cause of Action
      Applicable
         X         I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

         X           II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

         X           III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                             DEFECT

         X           IV      NEGLIGENCE – FAILURE TO WARN

         X           V       NEGLIGENT PRODUCT DESIGN

         X           VI      NEGLIGENT MANUFACTURING

         X          VII      GENERAL NEGLIGENCE

         X          VIII     NEGLIGENT MISREPRESENTATION

         X           IX      BREACH OF EXPRESS WARRANTIES

         X           X       BREACH OF IMPLIED WARRANTIES

         X           XI      VIOLATION OF CONSUMER PROTECTION AND
                             DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                             statute below:
                             _______________________




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      Check if   COUNT Cause of Action
      Applicable

          X           XII      UNJUST ENRICHMENT

          X           XIII     LOSS OF CONSORTIUM

           X          XIV      SURVIVAL ACTION

          X           XV       WRONGFUL DEATH

                      XVI      OTHER:

                     XVII      OTHER:


                 If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




                                             V.     JURY DEMAND


          14.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                       VI.        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

   inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

   action, jointly and severally to the full extent available in law or equity, as requested in the

   Master Personal Injury Complaint.


          Dated: March 5, 2021                            Respectfully submitted,

                                                          SANGISETTY LAW FIRM, LLC

                                                          /s/ Ravi K. Sangisetty
                                                          Ravi K. Sangisetty (#30709)
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